Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 1 of 28 PageID #:30164




                        EXHIBIT 9
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 2 of 28 PageID #:30165
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 3 of 28 PageID #:30166
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 4 of 28 PageID #:30167
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 5 of 28 PageID #:30168
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 6 of 28 PageID #:30169
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 7 of 28 PageID #:30170
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 8 of 28 PageID #:30171
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 9 of 28 PageID #:30172
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 10 of 28 PageID #:30173
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 11 of 28 PageID #:30174
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 12 of 28 PageID #:30175
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 13 of 28 PageID #:30176
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 14 of 28 PageID #:30177
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 15 of 28 PageID #:30178
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 16 of 28 PageID #:30179
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 17 of 28 PageID #:30180
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 18 of 28 PageID #:30181
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 19 of 28 PageID #:30182
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 20 of 28 PageID #:30183
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 21 of 28 PageID #:30184
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 22 of 28 PageID #:30185
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 23 of 28 PageID #:30186
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 24 of 28 PageID #:30187
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 25 of 28 PageID #:30188
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 26 of 28 PageID #:30189
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 27 of 28 PageID #:30190
Case: 1:23-cv-04098 Document #: 162-9 Filed: 02/18/25 Page 28 of 28 PageID #:30191
